                                                                                                     DISTRICT OF OREGON
                                                                                                         FILED
                                                                                                         May 09, 2019
                                                                                                  Clerk, U.S. Bankruptcy Court

 1

 2           Below is a judgment of the court. If the judgment is for
             money, the applicable judgment interest rate is: Not
 3           Applicable
 4

 5

 6

 7

 8                                                                                     _______________________________________
                                                                                                 PETER C. McKITTRICK
 9                                                                                               U.S. Bankruptcy Judge

10

11

12
                              IN THE UNITED STATES BANKRUPTCY COURT
13
                                              DISTRICT OF OREGON
14
     In re                                   )                           Case No. 18-34244-pcm11
15                                           )
     Christian S. Radabaugh, Sr.,            )                           STIPULATED JUDGMENT OF
16                                           )                           NONDISCHARGEABILITY
                   Debtor-in-Possession.     )
17                                           )
     _______________________________________ )
18                                           )
     GP LLC,                                 )                                                19-03042
19                           Plaintiff,      )                           Adversary Case No. ________
                                             )
     v.
20                                           )
     Christian S. Radabaugh, Sr.,            )
21                                           )
                             Defendant.      )
22

23               Christian S. Radabaugh, Sr., by and through his attorney, Nicholas Henderson,

24     hereby stipulates to entry of a judgment as follows:

25               1.     GP, LLC filed Proof of Claim No. 06 (the “GP Claim”) in the above-

26     captioned bankruptcy case of Christian S. Radabaugh Sr.



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                                               SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                     1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                           TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
                                Case 19-03042-pcm                Doc 3        Filed 05/09/19
                                                                                       S.
1            2.       Judgment is hereby entered in favor of GP, LLC against Christian

                                                                           11 U.S.C. §
2     Radabaugh, Sr., declaring the GP Claim non-dischargeable pursuant to

3     523(a)(2) and (6).
                                                                                          that
4             3.       Christian S. Radabaugh, Sr. warrants, represents, and acknowledges

                                                                                 ted by legal
5     he has voluntarily entered into this Stipulated Judgment, has been represen

                                                                            advice with
6     counsel in connection with this Stipulated Judgment, and has received
                                                                        the advisability of
7     regard to the legal effect regarding this Stipulated Judgment and

8     executing this Stipulated Judgment.

9                                                              ###


10    IT IS SO STIPULATED:

11    SUSSMAN SHANK LLP

12    /s/ Howard M. Levine

13    Howard M. Levine, OSB No. 800730
      Attorneys for GP, LLC
14


15    MOTSCHENBACHER & BLATTNER, LLP

16    /s/ Nicholas J. Henderson

17    Nicholas J. Henderson, OSB No. 074027
      Attorneys for Debtor
18

19    /s/Cpristim S.                \ugh, Sr.
                                           yrr.s
20     ChristianST^a'dabaugh, Sr.
21     PRESENTED BY:

22     SUSSMAN SHANK LLP

23     /s/ Howard M. Levine

24     Howard M. Levine, OSB No. 800730
       Attorneys for GP, LLC
25
       *24987-001\STIPULATED NONDISCHARGABILITY JUDGMENT (03153091);1
 26




       {00269201:1}      Page 2 of 2 - STIPULATED JUDGMENT OF NONDISCHARGEABILITY

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                                 Case 19-03042-pcm                  Doc 3         Filed 05/09/19
    CERTIFICATION OF COMPLIANCE WITH LBR 9021-1(a)(2)(A).

I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).




              Case 19-03042-pcm       Doc 3   Filed 05/09/19
